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                       EXHIBIT 1
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         RE: CONFIDENTIAL -- Evatt Tamine/Edge



           From : Corey Smith (TAX) <corey.smith@usdoj.gov>                    Tue, Feb 02, 2021 12:52 PM
         Subject : RE: CONFIDENTIAL -- Evatt Tamine/Edge
              To : Paul C. Rauser <prauser@aegislawgroup.com>

          Paul

          I apologize, we have been swamped with other ma8ers. We have researched this and Tangarra was
          NOT a purchaser of debt. The name appears on some Deutsche Bank documents and we
          misunderstood.

          Corey J. Smith
          Senior LiHgaHon Counsel
          Tax Division
          (202) 514-5230

          From: Paul C. Rauser <prauser@aegislawgroup.com>
          Sent: Tuesday, February 2, 2021 11:29 AM
          To: Smith, Corey (TAX) <Corey.Smith@tax.USDOJ.gov>
          Subject: Re: CONFIDENTIAL -- Eva8 Tamine/Edge

          Corey,

          Just following up on this. Can we get please the docs that the government
          believes indicate that Tangarra was a purchaser of debt?

          Best,
          Paul

          Paul C. Rauser
          ægis law group LLP
          801 Pennsylvania Avenue, N.W.
          Suite 740
          Washington, D.C. 20004
          T: 202 737 3375
          F: 202 737 3330
          E: prauser@aegislawgroup.com

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         transmission in error, please notify the sender immediately by telephone or by return e-mail
         and delete all copies.

         From: "Paul C. Rauser" <prauser@aegislawgroup.com>
         To: "Corey Smith" <corey.smith@usdoj.gov>
         Sent: Monday, January 25, 2021 12:37:02 PM
         Subject: CONFIDENTIAL -- Evatt Tamine/Edge

         Dear Corey,

         During the course of our discussions last week regarding the debt trades with
         Deutsche Bank, you mentioned that there was a DB document or two referencing
         purchases by Tangarra and that this was the basis for including Tangarra as a
         purchaser of debt in the Brockman indictment. You said that you would be able
         to share the source documents in question.

         May I ask you to do that as a matter of urgency? As we discussed, I can find no
         indication in the files available to us that Tangarra was a purchaser of debt --
         indeed, as you and I agreed, it would probably be impossible from a mechanical
         point of view for Tangarra to make such purchases, as Tangarra had no trading
         account (or any other account) with Deutsche Bank.

         I am sure that you will appreciate that having Tangarra named as a participant in
         a charged Federal crime -- indeed, several counts of charged criminality -- has
         far-reaching collateral effects. It is important that we get this cleared up as soon
         as possible. Please let me know when we can get the documents so that I can
         continue working on this on our end.

         Best,
         Paul




         Paul C. Rauser
         ægis law group LLP
         801 Pennsylvania Avenue, N.W.
         Suite 740
         Washington, D.C. 20004
         T: 202 737 3375
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